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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
   Case No.       2:20-cv-09399-RGK-AGR                                            Date   October 20, 2020
   Title          Robert Warren Jackson et al v. Moshe Jacob et al




   Present: The Honorable        R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
                Joseph Remigio                              Not Reported                                  N/A
                 Deputy Clerk                         Court Reporter / Recorder                       Tape No.
                Attorneys Present for Plaintiff:                        Attorneys Present for Defendants:
                         Not Present                                              Not Present
   Proceedings:               (IN CHAMBERS) Order to Show Cause

        The Court orders plaintiffs Robert Warren Jackson and Gregory Bauer (“Plaintiffs”) to file a
submission identifying all defendants who have been served with the summons and complaint, including
the dates of service, by October 27, 2020. Plaintiffs are further ordered, upon service of the summons
and complaint on any remaining unserved defendants, to file a proof of service within three (3) court
days of such service.

                   IT IS SO ORDERED.
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                                                       Initials of Preparer                     jre




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